Case 2:18-cv-09573-JFW-JPR Document 212 Filed 11/18/21 Page 1 of 7 Page ID #:5155




    1 Logan D. Smith (SBN 212041)
      lsmith@mcnamarallp.com
    2 McNamara Smith LLP
      655 West Broadway, Suite 900
    3 San Diego, California 92101
      Telephone: 619-269-0400
    4 Facsimile: 619-269-0401
    5 Attorneys for Receiver,
      Thomas W. McNamara
    6
    7
    8                      UNITED STATES DISTRICT COURT
    9                     CENTRAL DISTRICT OF CALIFORNIA
   10
   11 FEDERAL TRADE COMMISSION,                Case No. 2:18-cv-09573-JFW (JPRx)
   12                    Plaintiff,            JOINT MOTION TO UNSEAL
                                               COURT FILINGS [ECF NOS. 16,
   13        v.                                148, 171]
   14 APEX CAPITAL GROUP, LLC, et al.,         JUDGE:      Hon. John F. Walter
                                               CTRM:       7A
   15                    Defendants.           DATE:       December 20, 2021
                                               TIME:       1:30 p.m.
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                                     Case No. 2:18-cv-09573-JFW (JPRx)
                                           JOINT MOTION TO UNSEAL COURT FILINGS
Case 2:18-cv-09573-JFW-JPR Document 212 Filed 11/18/21 Page 2 of 7 Page ID #:5156




    1                                          I.
    2                                 INTRODUCTION
    3        The Court administratively closed this case on January 15, 2020, but in
    4 March 2020 authorized Thomas W. McNamara, the Court-appointed Receiver (the
    5 “Receiver”), to pursue litigation against Wells Fargo & Company and Wells Fargo
    6 Bank N.A. (“Wells Fargo”) for claims held by the Receivership Estate separate
    7 from the claims brought by the Federal Trade Commission (“FTC”) (ECF No.
    8 153). Non-Parties Wells Fargo recently requested access to three documents
    9 sealed by this Court going back three years: the November 2018 Ex Parte
   10 Temporary Restraining Order with Asset Freeze, Appointment of a Temporary
   11 Receiver, and Other Equitable Relief, and Order to Show Cause Why a
   12 Preliminary Injunction Should Not Issue (“TRO”) (Doc. 16), the February 2020
   13 Declaration of Thomas W. McNamara in Support of Receiver’s Motion for
   14 Authorization to Engage Contingent Fee Counsel under seal (ECF No. 148, the
   15 “First Declaration”), and the March 2021 Declaration of Thomas W. McNamara in
   16 Support of Receiver’s Unopposed Motion to Extend Completion Deadline for
   17 Receivership under seal (ECF No. 171, the “Second Declaration”).
   18        For the reasons discussed below, FTC and the Receiver jointly move for
   19 these documents to be unsealed. Counsel conferred pursuant to L.R. 7-3 on
   20 November 8, 2021.1
   21 ///
   22 ///
   23 ///
   24 ///
   25
        1
   26  Counsel for the Receiver, the Federal Trade Commission, and Wells Fargo
      conferred regarding the unsealing of the documents at issue on this date. Because
   27 all of the Defendants in this action have since settled, and the documents were
      originally sealed pursuant to the FTC and the Receiver’s requests, neither
   28 Defendants nor counsel for the Defendants were included in the conference.
                                                1       Case No. 2:18-cv-09573-JFW (JPRx)
                                              JOINT MOTION TO UNSEAL COURT FILINGS
Case 2:18-cv-09573-JFW-JPR Document 212 Filed 11/18/21 Page 3 of 7 Page ID #:5157




    1                                          II.
    2                                    DISCUSSION
    3 A.      The November 2018 Temporary Restraining Order
    4         The sealing of the TRO three years ago was to be temporary. The FTC
    5 requested that the TRO be sealed until the earlier of: (a) seven (7) business days
    6 after the Court has ruled on the TRO Application; or (b) upon the Clerk of the
    7 Court’s receipt of written notice from Plaintiff that Defendants have been served
    8 with the TRO, with no further order of the Court being necessary to effect the
    9 unsealing. The Court granted the FTC’s request. That the TRO has not yet been
   10 formally unsealed appears to have been an administrative oversight. The FTC
   11 therefore requests, along with the Receiver, that the Court unseal the TRO.
   12 B.      The February 2020 and March 2021 Sealed Declarations
   13         Both of the declarations which the Receiver sought to seal (and which the
   14 Court approved sealing) were attached to nondispositive motions. For such
   15 documents, “a particularized showing, under the good cause standard of Rule 26(c)
   16 will suffice to warrant preserving the secrecy” of the sealed document. Sas v.
   17 Sawabeh Info. Servs. Co., Case No. CV 11-04147-MMM (MANx), 2015 WL
   18 12734004, at *2 (C.D. Cal. Feb. 4, 2015) (internal quotation marks and citation
   19 omitted). At the time, good cause existed to seal both declarations for the reasons
   20 identified then and discussed below. Circumstances have since changed, however,
   21 and because Wells Fargo has requested access to these documents, the FTC and the
   22 Receiver are jointly moving to unseal both documents.
   23         1.    The First Declaration
   24         The First Declaration was attached to the Receiver’s February 2020 Motion
   25 for Authorization to Engage Contingency Fee Counsel (ECF No. 144) seeking the
   26 Court’s permission to retain counsel on a contingency fee basis to pursue litigation
   27 against Wells Fargo. Although the Motion and supporting memorandum were
   28 public, the Receiver sought to file the First Declaration accompanying it under
                                                 2       Case No. 2:18-cv-09573-JFW (JPRx)
                                               JOINT MOTION TO UNSEAL COURT FILINGS
Case 2:18-cv-09573-JFW-JPR Document 212 Filed 11/18/21 Page 4 of 7 Page ID #:5158




    1 seal. The reasons for seeking to file the First Declaration under seal were set forth
    2 in his ex parte application to file the declaration under seal (ECF No. 145):
    3         The Receiver’s declaration contains a more detailed discussion of that
              investigation, as well as a discussion of his litigation evaluation and
    4         strategy. If Wells Fargo were to obtain access to this information
              prior to the onset of litigation, the Receiver is concerned that it could
    5         use the information contained in his declaration to its advantage.
    6 ECF No. 145-1 at 2 (internal citations omitted) (emphasis added).
    7         Those concerns were significant ones pre-litigation. Because the Receiver
    8 has now sued Wells Fargo, see McNamara v. Wells Fargo & Company, et al., Case
    9 No. 3:21-cv-01245-LAB-LL (S.D. Cal.) (the “Wells Fargo Action”), the reasons
   10 for sealing no longer apply. The Receiver’s discussion of his investigation (which
   11 was set forth in the First Declaration) has since been incorporated into the
   12 Receiver’s July 8, 2021 publicly-filed complaint in the Wells Fargo Action, and
   13 the need for secrecy no longer exists. The Receiver, along with the FTC, thus
   14 petitions the Court to unseal the First Declaration.
   15         2.    The Second Declaration
   16         The Second Declaration, which was attached to the Receiver’s March 2021
   17 Motion to Extend Completion Deadline for Receivership (ECF No. 169), was
   18 sealed for similar, but slightly different reasons. As the Receiver stated in his ex
   19 parte application to seal the declaration, his concern was that “the Declaration, if
   20 publicly filed, could compromise the Receiver’s ability to pursue assets belonging
   21 to the Receivership Estate.” See ECF No. 167-1 at 1. The Receiver elaborated on
   22 this reasoning in the Second Declaration itself. Because he was asking for an
   23 extension of the receivership’s completion deadline, he believed it was both
   24 necessary and proper to provide the Court with a candid update on the work that
   25 had been done in the past year and the present status of his settlement negotiations
   26 with Wells Fargo. Believing that confidentiality could be a material term of any
   27 settlement with Wells Fargo, however, the Receiver sought leave to file his update
   28 to the Court under seal, which the Court granted.
                                                  3       Case No. 2:18-cv-09573-JFW (JPRx)
                                                JOINT MOTION TO UNSEAL COURT FILINGS
Case 2:18-cv-09573-JFW-JPR Document 212 Filed 11/18/21 Page 5 of 7 Page ID #:5159




    1         The Receiver and Wells Fargo were ultimately unable to reach a resolution,
    2 and the Receiver thus filed suit against Wells Fargo back in early July.
    3 Accordingly, the Receiver believes there is no further need to keep the fact of his
    4 discussions with Wells Fargo under seal,2 and with the FTC, he jointly petitions the
    5 Court to unseal the Second Declaration pursuant to Wells Fargo’s request.
    6                                          III.
    7                                    CONCLUSION
    8         For the reasons discussed above, the FTC and the Receiver respectfully
    9 request that ECF Nos. 16, 148, and 171 be unsealed.
   10 Dated: November 18, 2021                 FEDERAL TRADE COMMISSION
   11
                                               By: /s/ Jonathan W. Ware
   12                                            Jonathan W. Ware (DC 989414;
                                                 VA 77443) Admitted Pro Hac Vice
   13                                            600 Pennsylvania Ave., NW, CC-9528
                                                 Washington, DC 20580
   14                                            Tel.: 202-326 2726
                                                 Fax: 202-326-3197
   15                                            jware1@ftc.gov
   16                                             Local Counsel
                                                  Delilah Vinzon (Cal. Bar No. 222681)
   17                                             10990 Wilshire Boulevard, Suite 400
                                                  Los Angeles, CA 90024
   18                                             Tel.: 310-824-4300
                                                  Fax: 310-824-4380
   19                                             dvinzon@ftc.gov
   20                                             Attorneys for Plaintiff Federal Trade
                                                  Commission
   21
   22
   23
   24
        2
   25   While the Second Declaration contains references to a confidential mediation,
      nothing in the declaration discusses the parties’ positions or any specifics relating
   26 to the substance of their negotiations during mediation, all of which remain
      confidential pursuant to the parties’ agreement. The Receiver believes the
   27 information in the declaration could be made public regardless, and especially
      where the only other affected party – Wells Fargo – is the one making the request
   28 to unseal the document, it seems particularly appropriate.
                                                  4       Case No. 2:18-cv-09573-JFW (JPRx)
                                                JOINT MOTION TO UNSEAL COURT FILINGS
Case 2:18-cv-09573-JFW-JPR Document 212 Filed 11/18/21 Page 6 of 7 Page ID #:5160




    1 Dated: November 18, 2021              MCNAMARA SMITH LLP
    2
                                            By: /s/ Logan D. Smith
    3                                         Logan D. Smith
                                              655 West Broadway, Suite 900
    4                                         San Diego, CA 92101
                                              Tel.: 619-269-0400
    5                                         Fax: 619-269-0401
                                              Attorneys for Receiver,
    6                                         Thomas W. McNamara
    7
    8                           CONSENT CERTIFICATION
    9        I, Logan D. Smith, hereby certify that the contents of the JOINT MOTION
   10 TO UNSEAL COURT FILINGS [ECF NOS. 16, 148, 171] is acceptable to
   11 counsel for Plaintiff Federal Trade Commission, Jonathan W. Ware, who has
   12 authorized me to affix his CM/ECF electronic signature to this Joint Motion.
   13
   14                                       By:    /s/ Logan D. Smith
                                                   Logan D. Smith
   15                                              Attorney for Receiver,
                                                   Thomas W. McNamara
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                               5       Case No. 2:18-cv-09573-JFW (JPRx)
                                             JOINT MOTION TO UNSEAL COURT FILINGS
Case 2:18-cv-09573-JFW-JPR Document 212 Filed 11/18/21 Page 7 of 7 Page ID #:5161




    1                             CERTIFICATE OF SERVICE
    2
    3         I hereby certify that on November 18, 2021, I caused the foregoing to be
    4 electronically filed with the Clerk of the Court using the CM/ECF system, which
    5 will send notification of the filing to all participants in the case who are registered
    6 CM/ECF users.
    7
    8  /s/ Logan D. Smith
      Logan D. Smith
    9 Attorney for Receiver,
      Thomas W. McNamara
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                                              Case No. 2:18-cv-09573-JFW (JPRx)
                                                                    CERTIFICATE OF SERVICE
